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       [■I
           HILARY POTASHNER (Bar No. 167060)
       ~a~ Federal Public Defender
           (E-mail: Hilary_Potashner@fd.org)
       ~I ASAL AKHONDZADEH (Bar No.266792)
       4 (E-Mail: Asal Akhondzadeh@fd.org )
           Deputy Federal Public Defender
                                                                                       FigF~
       5 321 East 2nd Street                                                c~ ray{ u ~ r ~~~,~,
           Los Angeles, California 90012-4202
       6 Telephone: (213) 894-5327                                            J~j ~ ~ ~
       7 Facsimile: (213) 894-0081
                                                                                 IS7RICT OF CALI~Or~rd;'q
       8     Attorneys for Defendant                                                        __ CEi'U Fy
             MICHAEL POTERE
       9
     10                                         UNITED STATES DISTRICT COURT
     11                                    CENTRAL DISTRICT OF CALIFORNIA
     12                                              WESTERN DIVISION
     13
             iJNITED STATES OF AMERICA,                    Case No. CR 17-446-JFW
     14
     15                            Plaintiff,              EX PARTE APPLICATION TO FILE
                                                           UNDER SEAL; MEMORANDUM OF
     16                 v.                                 POINTS AND AUTHORITIES;
                                                           DECLARATION OF ASAL
     17      MICHAEL POTERE,                               AKHONDZADEH
     18                            Defendant.
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     20
     21                 Defendant, Michael Potere, by and through his attorney of record, Deputy
     22      Federal Public Defender Asal Akhondzadeh, hereby applies ex pane to this Court for
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  1     an Order permitting the document entitled "Defendant's Letter re: Sentencing" to be
 2      filed under seal.
 3
 4                                            Respectfully submitted,
 5
                                              HILARY POTASHNER
 6                                            Federal Public Defender
 7
 8      DATED:       January 8, 2018    By:
 9
                                              Deputy Federal Public Defender
10                                            Attorney for Michael Potere
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES
 2     A.    Legal Authority to Seal Exhibits
 3           A Court has plenary supervisory powers over its records and files to seal
 4     documents under appropriate circumstances. See United States v. Mann,829 F.2d 849,
 5     853,(9th Cir. 1987);In re Sealed Affidavits) to Search Warrants, 600 F.2d 1256, 1257
 6 (9th Cir. 1979). Information filed with a federal court may be sealed upon a showing
 7     that there is good cause or a compelling reason to do so. See Fed. R. Civ. P. 5.2(d),(e);
 8     Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1136 (9th Cir. 2003)(holding
 9     that documents submitted in connection with a dispositive motion may be sealed if
10     there is a compelling reason to do so); Phillips v. Gen. Motors Corp., 307 F.3d 1206,

11     1210(9th Cir. 2002)(applying good cause standard to request to seal documents and

12     information produced during discovery).
             In the United States District Court for the Central District of California,
13
       applications to file documents under seal are governed by Local Rule 79-5, which
14
       provides in relevant part:
15
                     Except when authorized by statute, federal rule, or the
16
                     Judicial Conference of the United States, no case or document
17
                     shall be filed under seal without prior approval by the Court.
18
                     Where approval is required, a written application and a
19
                     proposed order shall be presented to the judge along with the
20
                     document submitted for filing under seal.
21
22    L.R. 79-5.1.
23    B.     Good Cause for Sealing
24           Here, Mr. Potere seeks leave to file "Defendant's Letter re: Sentencing" under
25    seal because the documents contains personal/medical information in the form of

26    sensitive medical information about Mr. Potere and others.

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 1             Here, the concerns regarding privacy and privilege far outweigh the minimal
 2       value to the public in obtaining the information contained in the documents submitted
 3       under seal.
 4       C.    Plaintiff's Position Re: Sealing
 5             Plaintiff does not object to the sealing of defendant's "Defendant's Letter re:
 6             Sentencing."
 7             For the above stated reasons, defendant respectfully requests that the Court order

 8       that "Defendant's Letter re: Sentencing" be filed under seal.

 9
10                                               Respectfully submitted,

11                                               HILARY POTASHNER
12                                               Federal Public Defender

13
14      DATED:         January 8, 2018     By:
                                                 ASAL; AKI~NDZA~EH
15                                               Deputy Federal Public Defender
16                                               Attorney for Michael Potere

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 1                          DECLARATION OF ASAL AKHONDZADEH
 2
 3           I, Asal Akhondzadeh, hereby state and declare as follows:
 4           1. I am a Deputy Federal Public Defender in the Central District of
 5     California appointed to represent defendant Thomas Paul Torres in the above-entitled
 6     action.
 7               2.   The document lodged herewith,"Defendant's Letter re: Sentencing"
 8     references highly sensitive personal and medical information about Mr. Potere and
 9     others. An incomplete copy ofthis document was filed with Mr. Potere's position
10     paper, labeled as Exhibit M,on December 29, 2017. Due to clerical error, the complete
11     version ofthis exhibit was not filed on that date and I am seeking to file it now.
12               3.     I informed Assistant United States Attorney("AUSA")Jeff Mitchell of
13     my intention to file this document under seal. AUSA Mitchell does not object.
14               4.    The defense, therefore, asks this Court to permit the filing of this
15     document under seal.
16               I declare under penalty of perjury that the foregoing is true and correct to the
17     best of my knowledge.
18
      DATED:          January 8, 2018
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                                               AS L A     O      ADE
20                                             Deputy Federal Public Defender
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 1                                      PROOF OF SERVICE
2            I, declare that I am a resident or employed in Los Angeles County, California;
 3     that my business address is the Office ofthe Federal Public Defender, 321 East 2nd
4      Street, Los Angeles, California 90012-4202, Telephone No.(213)894-2854; that I am
 5     over the age of eighteen years; that I am not a party to the action entitled above; that I
6      am employed by the Federal Public Defender for the Central District of California, who
 7     is a member of the Bar of the State of California, and at whose direction I served a copy
 8     ofthe attached EX PARTE APPLICATION TO FILE UNDER SEAL;
9      MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF
10     ASAL AKHONDZADEH on the following individuals) by:
11 []Placing same in a         [ ]Placing                  [ ]Placing              [x ]E-
    sealed envelope for same in an envelope          same in a sealed        mailing via the
12 collection and        for hand delivery           envelope for            following e-mail
    interoffice delivery addressed as                collection and          addresses:
13 addressed as          follows:                    mailing via the
   follows:                                          United States Post
14                                                   Office addressed as
                                                     follows:
15
       Jeff Mitchell, AUSA
16     1200 United States Courthouse
       312 N. Spring Street
17     Los Angeles, CA 90012
18     Robert Klepa, USPO
       E-mail address:
19
       Robert_Klepa@cacp.uscourts.gov
20
21           This proof of service is executed at Los Angeles, California, on January 8, 2018.
22           I declare under penalty of perjury that the foregoing is true and correct to the best
23     of my knowledge.
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                                                Maria A     illon
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